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June 13, 2023 Abraham@Mazloumi.com

*Also admitted in New Jersey
Hon. Eric Komitee

United States District Court

Eastern District of New York Via ECF
225 Cadman Plaza East

Brooklyn, New York 11201

Re: Dickerson v. Dickerson et al
Case No. 1:23-cv-03859

Dear Judge Komitee:

I was appointed by Hon. Bernice D. Siegal on February 14, 2023, as Successor Temporary
Personal Needs and Property Management Guardian (hereinafter “Successor Temporary
Guardian”) of Brandon R. Dickerson (hereinafter “Brandon”). I am also an attorney licensed to
practice law in the state of New York. I am brought into this case as one of the defendants in my
“official and individual capacity.” Compl. 3.

I was served with process on or about May 26, 2023. I am being represented by my firm, Abraham
Mazloumi & Associates, Attorneys at Law, P.C. Pursuant to Rule III. B. of Your Honor’s
Individual Rules and Practices, please let this letter serve as a request for a pre-motion conference
with your Court to discuss my intention to file a motion to dismiss Robert L. Dickerson’s complaint
under Fed. R. Civ. P. 12(b)(1) & 12(b)(6).

Robert L. Dickerson, as well as Robert L. Dickerson “as Court-Appointed Guardian” (hereinafter
also “Plaintiff’) for Brandon R. Dickerson, alleges in his complaint that his constitutional rights
under the Due Process Clause of the Fourteenth Amendment were and are being violated, and that
I am liable under 42 USC 1983, including by way of the defendants’ purportedly acting under
color of State law.

First, Plaintiff's claim that his 42 USC Sec. 1983 rights were violated must fail, because 42 USC
Sec. 1983 applies only to persons acting “under color of any statute, ordinance, regulation, custom,
or usage, of any State or Territory or the District of Columbia.” The Supreme Court explained
that Congress “specified that the conduct at issue must have occurred ‘under color of? state law;
thus, liability attaches only to those wrongdoers ‘who carry a badge of authority of a State and
represent it in some capacity, whether they act in accordance with their authority or misuse it.’”

 

' While Robert L. Dickerson refers to himself in his caption as “guardian,” he was appointed in Louisiana as Brandon’s
court-appointed Curator, which appears to have substantially the same meaning as a New York “guardian.”

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Nat'l Collegiate Athletic Ass'n y. Tarkanian, 488 U.S. 179, 191 (1988), quoting, Monroe v. Pape,
365 U.S. 167, 172 (1961).

I have no authority vested in me by any State, nor am I representing any State. I am merely a
court-appointed temporary successor guardian. Furthermore, the court in Storck v. Suffolk Cnty.
Dep't of Soc. Servs., 62 F. Supp. 2d 927, 941 (E.D.N.Y. 1999) held that “law guardians ... are
[not] state actors for purposes of Section 1983.” Therefore, 42 USC Sec. 1983 simply does not
apply to me in my (to use Plaintiff's words) “official and individual capacity.”

The Due Process Clause of the Fourteenth Amendment does not apply to me either, because it only
applies to State or government actions. The Second Circuit explained that “| b]Jecause the United
States Constitution regulates only the Government, not private parties, a litigant claiming that his
constitutional rights have been violated must first establish that the challenged conduct constitutes
‘state action.”” U.S. v. Int'l Bhd. of Teamsters, Chauffeurs, Warehousemen & Helpers of Am., 941
F.2d 1292 (2d Cir. 1991). Given that I am not a representative of a State or acting for or on behalf
of any government, Plaintiff's claim lacks merit to bring this suit against me under the Due Process
Clause of the 14th Amendment.

This Court, I also respectfully submit, lacks subject-matter jurisdiction under the 3-prong
“Younger Abstention” doctrine, because (1) Brandon’s New York state-court Mental Hygiene
Law (MHL) Article 81 proceeding has not been concluded; that is, there has been no final
judgment yet;? (2) New York state has a strong interest in protecting vulnerable (e.g.,
incapacitated) individuals such as Brandon, and which strong interest is clearly reflected in the
fact that MHL Article 81 proceedings are expedited proceedings that must be heard within 28 days
from the date a judge signs the order to show cause; and (3) Plaintiff has not shown that his
constitutional claims cannot be evaluated and adjudicated by a New York state supreme court
judge. See Diamond “D” Constr. Corp. v. McGowan, 282 F.3d 191, 198 (2d Cir. 2002),
instructing that “Younger abstention is required when three conditions are met: (1) there is an
ongoing state proceeding; (2) an important state interest is implicated in that proceeding; and (3)
the state proceeding affords the federal plaintiff an adequate opportunity for judicial review of the
federal constitutional claims.”

Furthermore, I am entitled to quasi-judicial immunity as a court-appointed Successor Temporary
Guardian. See Galanova v. Portnoy, 432 F. Supp. 3d 433, 446 n.12 (S.D.N.Y. 2020), explaining
that a court-appointed guardian is “entitled to quasi-judicial immunity because, as a court-
appointed guardian, Portnoy acted at all times as an adjunct of the New York state judicial
system.” See also Storck v. Suffolk Cnty. Dep't of Soc. Servs., 62 F. Supp. 2d 927, 941, referring
to Offutt v. Kaplan, 884 F. Supp. 1179, 1192 (N.D.IIL. 1995) for its “dismiss[al] [of] civil rights
claims against law guardians on ground they act as judicial officers and are therefore entitled to
absolute immunity.” Moreover, “persons who faithfully execute valid court orders are absolutely

 

* It should be noted that even if Plaintiff were under the belief that the MHL Article 81 proceeding was deemed to
have been concluded (in that I was appointed as temporary successor guardian of Brandon, and Plaintiff was not), the
Rooker-Feldman doctrine (rather than the “Younger Abstention” doctrine) would nevertheless preclude a federal
district court from hearing Plaintiff, because “federal district courts lack jurisdiction over suits that are, in substance,
appeals from state-court judgments.” Hoblock v. Albany Cnty. Bd. of Elections, 422 F.3d 77, 84 (2d Cir. 2005).

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immune from liability for damages in actions challenging conduct authorized by the order.”
Galanova v. Portnoy, 432 F. Supp. 3d 433, 446 n.12 (S.D.N.Y. 2020) (quoting Maldonado v. New
York Cnty. Sheriff, No. 05 CIV. 8377(JGK), 2006 WL 2588911 (S.D.N.Y. Sept. 6, 2006). As
Brandon’s Successor Temporary Guardian, I acted (and continue to act) faithfully and in
compliance with all of court orders concerning Brandon’s MHL Article 81 proceeding. Therefore,
I am afforded absolute immunity from liability for damages or violations alleged by Plaintiff.

Plaintiff also fails to state a claim upon which relief can be granted on his request to “void and or
suspend the decision authority of the temporary guardian... .” Compl. 7. According to New York
Mental Hygiene Law §81.35, “[u]pon motion, the court appointing a guardian may remove such
guardian when the guardian fails to comply with an order, is guilty of misconduct, or for any other
cause which to the court shall appear just.” The Plaintiff fails to allege any cognizable reason that
would justify the removal or suspension of me as Successor Temporary Guardian pursuant to New
York Mental Hygiene Law §81.35.

Lastly, Plaintiff lacks capacity to bring this case on behalf of Brandon. Appearances in federal
court are governed by 28 USCS §1654, which requires that “[iJn all courts of the United States the
parties may plead and conduct their own cases personally or by counsel... .”. The Court in Cheung
v. Youth Orchestra Found. of Buffalo, Inc., 906 F.2d 59, 61 (2d Cir. 1990) further expanded on 28
USCS §1654 by stating that “[i]t goes without saying that it is not in the interests of minors or
incompetents that they be represented by non-attorneys.” Furthermore, the Court in Berrios v.
N.Y. City Hous. Auth., 564 F.3d 130, 134 (2d Cir. 2009) noted that “[i]f the representative of the
minor or incompetent person is not himself an attorney, he must be represented by an attorney in
order to conduct the litigation.” As mentioned above, Plaintiff brought this case on behalf of
Brandon as “Court-Appointed Guardian.” However, given that Plaintiff is not an attorney, it is
irrelevant for purposes of 28 USCS §1654 that Plaintiff happens to be Brandon’s court-appointed
Curator? Therefore, Plaintiff lacks capacity to bring this case on behalf of Brandon.

For the above-mentioned reasons, I respectfully request that I am afforded by Your Honor a pre-
motion conference to dismiss Plaintiffs suit.

Thank you.
Respectfully submitted,

Atala 8 thaelotine,

Abraham S. Mazloumi, Esq.

ce: Hon. Bernice D. Siegal (via Regular mail)
Robert L. Dickerson (via Regular mail)
Geneva Dickerson (via Regular mail)
Judah Schwartz (via Regular mail)

 

* As discussed above, Plaintiff refers to himself as court appointed “guardian,” when in fact he was appointed in
Louisiana as court-appointed Curator.

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